Case 9:18-cv-81147-BB Document 99 Entered on FLSD Docket 05/19/2020 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           Case No. 18-cv-81147-BLOOM/Reinhart

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 ISAC SCHWARZBAUM,

       Defendant.
 ______________________________/

                                     FINAL JUDGMENT

        THIS CAUSE is before the Court following the entry of Findings of Fact and Conclusions

 of Law, ECF No. [92] (“Decision”), and the Order Assessing Penalties, ECF No. [98] (“Order”).

 The issues having been duly tried to the Court, it is ORDERED AND ADJUDGED as follows,

 consistent with the Court’s Decision and Order:

        1. Judgment is entered in favor of Plaintiff, the United States of America as to Counts 2,

            3, and 4 of the Complaint, ECF No. [1]. Judgment is entered in favor of Defendant,

            Isac Schwarzbaum as to Count 1 of the Complaint. Defendant shall pay to the United

            States of America penalties of $12,907,952.00, in addition to late payment penalties

            and interest, for willful violations of the FBAR reporting requirements for tax years

            2007, 2008, and 2009.

        2. The Court reserves jurisdiction to award attorneys’ fees and costs.

        3. Post-judgment interest shall accrue on this Judgment pursuant to 28 U.S.C. § 1961.

        4. The Clerk of Court is directed to mark this case CLOSED.
Case 9:18-cv-81147-BB Document 99 Entered on FLSD Docket 05/19/2020 Page 2 of 2
                                                Case No. 18-cv-81147-BLOOM/Reinhart


        DONE AND ORDERED in Chambers at Miami, Florida, on May 18, 2020.




                                               _________________________________
                                               BETH BLOOM
                                               UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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